              Case 2:11-cr-00119-WBS Document 31 Filed 07/11/11 Page 1 of 2


 1   Tim A. Pori (SBN 189270)
     LAW OFFICES OF TIM A. PORI
 2   521 Georgia Street
     Vallejo, CA 94590
 3   Telephone: (707) 644-4004
 4   Attorney for Defendant JORGE SANDOVAL
 5
 6                            UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                          Case No. CR-S-11-0119 WBS
10
                          Plaintiff,
11                                                      STIPULATION AND [PROPOSED]
     vs.                                                ORDER TO EXCLUDE TIME
12
     JORGE SANDOVAL, REBECCA
13   GUZMAN,
14                        Defendants
15   ________________________________/
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17          The parties hereby stipulate that the status conference in this case be continued
18   from July 11, 2011, to September 26, 2011, at 8:30 a.m. The parties stipulate that the
19   time between July 11, 2011, and September 26, 2011, should be excluded from the
20   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of
21   justice are served by the Court excluding such time, so that counsel for the defendant may
22   have reasonable time necessary for effective preparation, taking into account the exercise
23   of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4. Specifically,
24   counsel for defendants needs additional time to review the discovery and investigate the
25   case. Therefore the parties have stipulated to continue the status conference in this case.
26   The parties stipulate and agree that the interests of justice served by granting this
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              Case 2:11-cr-00119-WBS Document 31 Filed 07/11/11 Page 2 of 2


 1   continuance outweigh the best interests of the public and the defendant in a speedy trial.
 2   18 U.S.C. § 3161 (h)(7)(A).
 3
 4                                             Respectfully submitted
 5                                             LAW OFFICES OF TIM A. PORI
 6
     Date: July 8, 2011                           /s/ Tim A. Pori
 7                                             TIM A. PORI
                                               Attorney for Defendant JORGE SANDOVAL
 8
 9                                             McALLISTER & McALLISTER
10
     Date: July 8, 2011                           /s/ Kirk McAllister (Authorized 7/8/11)
11                                             KIRK McALLISTER
                                               Attorney for Defendant REBECCA GUZMAN
12
13
     Date: July 8, 2011                         /s/ Jason Hitt (Authorized 7/8/11)
14                                             JASON HITT
                                               Assistant United States Attorney
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19                                            ORDER
20          IT IS HEREBY ORDERED that the Status Conference in the above-entitled
21   matter is continued to September 26, 2011, at 8:30 a.m. before the Honorable William
22   Shubb.
23   DATED: July 8, 2011
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